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                                          October 15, 2019

Via ECF
The Honorable Joseph A. Dickson, U.S.M.J.
United States District Court
Martin Luther King Jr. Federal Building and Courthouse
50 Walnut Street, Room MLK 2D
Newark, New Jersey 07102

       Re:     Alejandro Morales v. Healthcare Revenue Recovery Group, LLC, et al.
               Case No. 2:15-cv-08401-ES-JAD
               Our File No.: 15-063

Dear Judge Dickson:

       This firm represents the Plaintiff in the above-referenced matter. Plaintiff writes to
respectfully request a fourteen-day extension to file a joint motion to seal.

       Pursuant to the local rules, the deadline to file a motion to seal is today. However,
additional time is needed for the parties to finalize the motion. Therefore, Plaintiff
respectfully requests that the deadline to file a joint motion to seal be adjourned on or before
November 1, 2019.

       Plaintiff reached out to the Defendant for their consent to this request but have not
received a response.

       Thank you for Your Honor’s time and courtesies in this matter.
                                                        Respectfully Submitted

                                                        s/Evan Lehrer
                                                        Evan Lehrer, Esq.
                                                        KIM LAW FIRM LLC
EL
cc:    Philip D. Stern, Esq. (via ECF)
       Andrew T. Thomasson, Esq. (via ECF)
       Christian M. Scheuerman, Esq. (via ECF)
